       Case 1:17-cv-01016-VM        Document 55   Filed 08/09/19    Page 1 of 10
        Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


_______________ x
                                             Civil Action No. 1: l 7-cv-01016-VM
AFSHIN GALESTAN, Individually and on
Behalf of All Others Similarly Situated,
                                             CLASS ACTION
                           Plaintiff,                  FINAL JUDGMENT AND
                                             ORDER OF DISMISSAL WITH PREJUDICE
       vs.

ONEMAIN HOLDINGS, INC., JAY N.
LEVINE and SCOTT T. PARKER,                       USDC SDNY
                                                  DOCUMENT
                            Defendants.
                                                  ELECTRONICALLY FILED
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       Case 1:17-cv-01016-VM Document 55 Filed 08/09/19 Page 2 of 10
         Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 2 of 9




       WHEREAS, this matter came before the Court pursuant to the Order Preliminarily

Approving Settlement and Providing for Notice ("Order") dated May 1, 2019, on the application of

Plaintiff for approval of the Settlement set forth in the Stipulation and Agreement of Settlement

dated as of April 22, 2019 (the "Stipulation"). Due and adequate notice having been given to the

Class as required in the Order, and the Court having considered all papers filed and proceedings had

herein and otherwise being fully informed in the premises and good cause appearing therefore, IT IS

HEREBY ORDERED, ADJUDGED, AND DECREED that:

        1.     This Final Judgment and Order of Dismissal with Prejudice ("Judgment")

incorporates by reference: (a) the Stipulation; and (b) the Notice, Summary Notice, Declaration of

the Claims Administrator filed with this Court on July 3, 2019, and the Supplemental Declaration of

the Claims Administrator filed with this Court on August 2,2019. All terms used herein shall have

the same meanings as set forth in the Stipulation, unless otherwise set forth herein.

       2.      This Court has jurisdiction over the subject matter of the Action and over all parties to

the Action, including all Members of the Class.

       3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court hereby affirms

its determinations in the Order and finally certifies for purposes of settlement only a Class defined as

all persons and entities who purchased or otherwise acquired OneMain common shares from

February 25, 2016 to November 7, 2016, inclusive. Excluded from the Class are Defendants, the

officers and directors of OneMain at all relevant times, members of their immediate families, any

entity in which any Defendant has a controlling interest, and the legal representatives, heirs,

successors-in-interest or assigns of any such excluded party. Also excluded from the Class are those

Persons who timely and validly requested exclusion from the Class and are listed on Exhibit I hereto

as having submitted an exclusion request allowed by the Court.

        4.      This Court hereby affirms its determinations in the Order and finds, for the purposes

of the Settlement only, that the prerequisites for a class action under Rules 23(a) and (b)(3) of the
                                                 - 1-
        Case 1:17-cv-01016-VM           Document 55         Filed 08/09/19       Page 3 of 10
             Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 3 of 9




Federal Rules of Civil Procedure have been satisfied in that: (a) the number of Class Members is so

numerous that joinder of all members is impracticable; (b) there are questions of law and fact

common to the Class; (c) the claims of Plaintiff are typical of the claims of the Class he seeks to

represent; (d) Plaintiff and Lead Counsel have and will fairly and adequately represent the interests

of the Class; (e) the questions of law and fact common to the Members of the Class predominate

over any questions affecting only individual Class Members; and (f) a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

       5.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for purposes of

settlement only, the Court hereby affirms its determinations in the Order and finally appoints

Plaintiff Afshin Galestan as Class Representative for the Class and Robbins Geller Rudman & Dowd

LLP and Holzer & Holzer, LLC as Class Counsel for the Class.

       6.       The Notice of Pendency and Proposed Settlement of Class Action ("Notice") given to

the Class was the best notice practicable under the circumstances, including the individual notice to

all Members of the Class who could be identified through reasonable effort. The Notice provided

the best notice practicable under the circumstances of those proceedings and of the matters set forth

therein, including the proposed Settlement set forth in the Stipulation, to all Persons entitled to such

notice, and said notice fully satisfied the requirements of the Federal Rules of Civil Procedure

(including Rules 23(c)-(e)), the United States Constitution (including the Due Process Clause),

Section 21 D(a)(7) of the Securities Exchange Act of 1934. 15 U.S.C. §78u-4(a)(7), as added by the

Private Securities Litigation Reform Act of 1995. the Rules of this Court, and other applicable law.

        7.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby affirms

its determinations in the Order, fully and finally approves the Settlement set forth in the Stipulation

in all respects and finds that:

                (a)     the Stipulation and the Settlement contained therein, are, in all respects, fair,

reasonable, and adequate and in the best interest of the Class;
                                                  -2 -
        Case 1:17-cv-01016-VM Document 55 Filed 08/09/19 Page 4 of 10
          Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 4 of g




               (b)     there was no collusion in connection with the Stipulation;

               (c)     the Stipulation was the product of informed, arm's-length negotiations among

competent, able counsel; and

               (d)     the record is sufficiently developed and complete to have enabled Plaintiff and

Defendants to have adequately evaluated and considered their positions.

       8.      Accordingly, the Court authorizes and directs implementation and performance of all

the terms and provisions of the Stipulation, as well as the terms and provisions hereof. Except as to

any individual claim of those Persons (identified in Exhibit 1 attached hereto) who have validly and

timely requested exclusion from the Class, the Court hereby dismisses the Action and all Released

Claims of the Class with prejudice. The Settling Parties are to bear their own costs, except as and to

the extent provided in the Stipulation and herein.

       9.      The Releases set forth in Section 4 of the Stipulation, together with the definitions

contained in the Stipulation relating thereto, are expressly incorporated herein by reference.

Accordingly, this Court orders that:

               (a)     Upon the Effective Date, and as provided in the Stipulation, Plaintiff shall,

and each of the Releasing Plaintiff Parties shall be deemed to have, and by operation of this

Judgment shall have, fully, finally, and forever waived, released, relinquished, discharged, and

dismissed any and all Released Claims (including Unknown Plaintiffs Claims) against the Released

Persons, whether or not such Releasing Plaintiff Party executes and delivers the Proof of Claim and

Release form or shares in the Settlement fund. Claims to enforce the terms of the Stipulation are not

released.

                (b)    Plaintiff and all Releasing Plaintiff Pai1ies, and anyone claiming through or on

behalf of any of them. are hereby forever barred and enjoined from commencing, instituting,


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        Case 1:17-cv-01016-VM           Document 55         Filed 08/09/19      Page 5 of 10
              Case 1:17-cv-01016-VM Document 51             Filed 08/02/19 Page 5 of 9




prosecuting or continuing to prosecute any action or other proceeding in any court oflaw or equity,

arbitration tribunal, or administrative forum, asserting any of the Released Claims against any of the

Released Persons.

                 (c)    Upon the Effective Date, and as provided in the Stipulation, each of the

Released Persons shall be deemed to have, and by operation of this Judgment shall have, fully,

finally, and forever released, relinquished, and discharged Plaintiff, each and all of the Class

Members, and Plaintiffs counsel from all claims and causes of action of every nature and

description (including Unknown Defendants' Claims), whether arising under federal, state, common

or foreign law, that arise out of or relate in any way to the institution, prosecution, or settlement of

the claims against Defendants, except for claims relating to the enforcement of the Settlement.

Notwithstanding the foregoing, nothing in this order shall be construed as limiting, modifying or

otherwise affecting any insurance coverage or policies that may be available to any of the

Defendants or Released Persons.

        10.      Any Plan of Allocation submitted by Lead Counsel or any order entered regarding

any attorneys' fee and expense application or application by Plaintiff pursuant to 15 U.S.C.

§78u-4(a)( 4) in connection with his representation of the Class shall in no way disturb or affect this

Judgment and shall be considered separate from this Judgment.

        11.      Neither this order, the Settlement, the Stipulation, the Plan of Allocation contained

therein, the negotiations leading to the execution of the Stipulation and the Settlement, nor any

proceedings taken pursuant to or in connection with the Stipulation, and/or approval of the

Settlement (including any arguments proffered in connection therewith), nor any communication

relating thereto, is evidence, or an admission or concession by any Settling Party or its counsel, of

any fault, liability or wrongdoing whatsoever. as to any facts or claims alleged or asserted in the


                                                  -4 -
        Case 1:17-cv-01016-VM Document 55 Filed 08/09/19 Page 6 of 10
          Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 6 of 9




Action, or any other actions or proceedings, or as to the validity or merit of any of the claims or

defenses alleged or asserted in any such action or proceeding.

        12.    Defendants have denied and continue to deny liability and maintain that they have

meritorious defenses, and Defendants have represented that they entered into the Settlement solely in

order to avoid the cost and burden of litigation.

        13.    Neither the Settlement, the Stipulation (whether or not consummated), including the

Exhibits thereto and the Plan of Allocation contained therein (or any other plan of allocation that

may be approved by the Court), the negotiations leading to the execution of the Stipulation and the

Settlement, nor any proceedings taken pursuant to or in connection with the Stipulation, and/or

approval of the Settlement (including any arguments proffered in connection therewith):

               (a)     shall be offered or received against any Defendant as evidence of or construed

as or deemed to be evidence of any presumption, concession, or admission by any Defendant of the

truth of any allegations by Plaintiff or any Member of he Class or the validity of any claim that has

been or could have been asserted in the Litigation, or t 1e deficiency of any defense that has been or

could have been asserted in the Litigation or in any ther litigation, including, but not limited to,

litigation of the Released Claims, or ofany liability, n gligence, fault, or wrongdoing of any kind of

any of the Defendants or in any way referred to t r any other reason as against any of the

Defendants, in any civil, criminal. or administrative action or proceeding, other than such

proceedings as may be necessary to effectuate the provisions of the Stipulation;

               (b)     shall be offered or received against any Defendant as evidence of a

presumption, concession, or admission of any fault. misrepresentations, or omission with respect to

any statement or written document approved or made by any Defendant, or against Plaintiff or any

Member of the Class as evidence of any infirmity in the claims of Plaintiff and the Class;


                                                    -5-
       Case 1:17-cv-01016-VM             Document 55         Filed 08/09/19       Page 7 of 10
           Case 1:17-cv-01016-VM          Document 51        Filed 08/02/19     Page 7 of 9




                (c)     shall be offered or received against any Defendant as evidence of a

presumption, concession. or admission of any liability, negligence, fault, or wrongdoing, or in any

way referred to for any other reason as against any of the parties to the Stipulation, in any other civil,

criminal. or administrative action or proceeding; provided, however, that if the Stipulation is

approved by the Court, Defendants and their Related Parties may refer to it to effectuate the release

granted them hereunder; or

                (d)     shall be construed against Defendants, Plaintiff, or the Class as evidence of a

presumption, concession or admission that the consideration to be given hereunder represents the

amount which could be or would have been recovered after trial or in any proceeding other than this

Settlement.

        14.     Without affecting the finality of this Judgment in any way, this Court hereby retains

continuing jurisdiction over: (a) implementation of this Settlement and any award or distribution of

the Settlement Fund, including interest earned thereon; (b) disposition of the Settlement Fund;

(c) hearing and determining applications for attorneys' fees, expenses, and interest in the Action;

(d) all parties herein for the purpose of construing. enforcing, and administering the Stipulation;

(e) the Class Members for all matters relating to the Action; and (f) other matters related or ancillary

to the foregoing. The administration of the Settlement. and the decision of all disputed questions of

law and fact with respect to the validity of any claim or right of any Person to participate in the

distribution of the Net Settlement Fund. shall remain under the authority of this Court.

        15.     The Court finds that during the course of the Action. the Settling Parties and their

respective counsel at all times complied with the requirements of Federal Rule of Civil

Procedure 11.




                                                   -6-
        Case 1:17-cv-01016-VM           Document 55            Filed 08/09/19   Page 8 of 10
              Case 1:17-cv-01016-VM Document 51 Filed 08/02/19 Page 8 of 9




        16.      In the event that the Settlement does not become effective in accordance with the

terms of the Stipulation, or the Effective Date does not occur, then this Judgment shall be rendered

null and void to the extent provided by and in accordance with the Stipulation and shall be vacated

and, in such event, all orders entered and releases delivered in connection herewith shall be null and

void to the extent provided by and in accordance with the Stipulation and the Settlement Fund shall

be returned in accordance with the Stipulation.

        17.      Without further order of the Court, the Settling Parties may agree to reasonable

extensions of time to carry out any of the provisions of the Stipulation.

        18.      Defendants have provided notification to all appropriate federal and state officials

regarding the Settlement as required by 28 U.S.C. § 1715.

        19.      The Court directs immediate entry of this Judgment by the Clerk of the Court.

        IT IS SO ORDERED.                                / I
                                                     /


DATED:
                                               ' THE · ON  ABLE VICTOR MARRERO
                                           /     UNITED STA TES DISTRICT JUDGE




                                                  -7-
        Case 1:17-cv-01016-VM           Document 55    Filed 08/09/19   Page 9 of 10
          Case 1:17-cv-01016-VM          Document 51   Filed 08/02/19 Page 9 of 9




                                     CERTIFICATE OF SERVICE

       I, Robert M. Rothman, hereby certify that on August 2, 2019, I authorized a true and

correct copy of the foregoing document to be electronically filed with the Clerk of the Court

using the CM/ECF system, which will send notification of such public filing to all counsel

registered to receive such notice.


                                                         Isl Robert M. Rothman
                                                        ROBERT M. ROTHMAN
Case 1:17-cv-01016-VM    Document 55     Filed 08/09/19    Page 10 of 10
 Case 1:17-cv-01016-VM   Document 51-1    Filed 08/02/19   Page 1 of 1




                          EXHIBIT 1
 Galestan v. OneMain Holdings, Inc., et al., No. 1:l 7-cv-01016-VM




    INDIVIDUALS AND ENTITIES WHO HA VE TIMELY
      REQUESTED EXCLUSION FROM THE CLASS


1. Murray J. Smidt
